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               EXHIBIT 2
                              HEY KIDS! LET'S HAVE FUN AT
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                              AFTER SCHOOL SATAN CLUB!
                     Science & Community Service Projects!
                  Puzzles and Games! Nature Activities! Arts and
                          Crafts! Snacks! & TONS of Fun!
                                      Parents, your child will learn...
                     • Benevolence & Empathy • Critical Thinking • Problem Solving •
                        • Creative Expression • Personal Sovereignty • Compassion •
                 The Satanic Temple is a non-theistic religion that views Satan as a literary figure who
                represents a metaphorical construct of rejecting tyranny and championing the human
                mind and spirit. After School Satan Club does not attempt to convert children to any
               religious ideology. Instead, The Satanic Temple supports children to think for themselves.
                    All After School Satan Clubs are based on activities centered around The Seven
               Fundamental Tenets, and emphasize a scientific, rationalist, non-superstitious worldview.

                                   Saucon Valley Middle School
                                    2097 Polk Valley Rd, Hellertown, PA 18055
                                               Dates: 3/8/2023. 4/12/2023, and 5/10/2023
                                                     Start Time: 3:05 PM End: 4:30 PM
                  Location: Large Group Instruction Room (In The Middle School)
                      Sponsored by: The Satanic Temple and Reason Alliance
                    For More Information E-mail: ASSC@TheSatanicTemple.com
                                      Website: TST.Link/ASSC

                 PERMISSION SLIP Please return the bottom of this form with your student to their first club meeting.
DOWNLOAD         Please Make Sure your child's teacher is aware they will be joining us on club days! Please complete one
                                                            form per child.
 BROCHURE                               For an Electronic Permission slip: tst.link/ASSCsignup

                                 Yes, my child has permission to attend the After School Satan Club (ASSC).
                        *A healthy pre-packaged snack will be provided—please note any known food allergies below*

                    How will your child get home on club day at 4:30 PM (Circle One)
                     Picked up by myself                          at     Saucon            Attends another after school program
                     Valley Middle                                                         Picked up by an approved adult at Saucon
                     Walk or bike home                                                     Valley Middle Name(s) of Approved Adult:

                                                                                            _________________________________________________
                Student Information (For StudentsK-8)

                Student First & Last Name:                                                  Parent/Guardian Name & Cell Phone:
ASSC WEBSITE
                Mailing Address:                                                            City/State:

                                                                                            Zip:
                 Grade of Student:                                                         Emergency Contact Name & Cell Phone:

                 Homeroom Teacher:
                 Emergency Contact Name & Cell:                                            Any Known Food or Drug Allergies:


                The United States Constitution requires schools to respect the right of all external organizations to distribute flyers to students at school if the
               school permits any such organization to distribute flyers. Accordingly, the school cannot discriminate among groups wishing to distribute flyers
                at school and does not endorse the content of any flyer distributed at school. The school encourages parents to assist their children in making
                                          choices appropriate for them. This is not an activity of the school or the School District.
                Parent/Guardian Signature:                                                                                         Date:
